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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

DOE, )
) Case No. 3:20-cv-00421 NJR
) Deadline for Completion of 2/3/23
Plaintiff, ) Mandatory Mediation Process:
) February 2, 2023
vs. )
)
APPLE, INC., )
)
Defendant. )

REPORT OF MANDATORY MEDIATION

A mediation session was held on February 2, 2023. The outcome of the Mandatory
Mediation session is as follows:

O CASE HAS SETTLED.
O A stipulation of dismissal is being prepared and will be filed by ©) i!
to enter a date..
Or

O Additional time is needed to consummate the settlement, and the parties
request that the Court enter a 60-day order.

O MEDIATION WAS INCONCLUSIVE. Another mediation session has been
scheduled.

C) MEDIATION IS COMPLETE. CASE DID NOT SETTLE. The case will proceed
to trial pursuant to the Court’s Scheduling Order.

xX] OTHER. PLEASE EXPLAIN.

The case did not settle. The parties agree that settlement negotiations may
resume when the case is in a different posture.

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DATED: 2/6/2023.

Donald G. Wilkerson
Mediator

